        Case 2:16-cv-01443-AKK Document 51 Filed 08/15/18 Page 1 of 3                          FILED
                                                                                      2018 Aug-15 PM 08:26
                                                                                      U.S. DISTRICT COURT
                                                                                          N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

BLACK WARRIOR RIVER-           )
KEEPER, INC.,                  )
                               )
     Plaintiff,                )
                               )              Case No. 2:16-cv-01443-AKK
v.                             )
                               )
DRUMMOND COMPANY, INC., )
                               )
     Defendant.                )
______________________________ )

     BLACK WARRIOR RIVERKEEPER’S MOTION FOR PARTIAL
                  SUMMARY JUDGMENT

      Pursuant to Federal Rule of Civil Procedure 56 and in accordance with

Appendix II to the Court’s Scheduling Order, ECF No. 16, Plaintiff Black Warrior

Riverkeeper moves for partial summary judgment on Counts I and IV as to the

liability of Defendant Drummond Company for violations of the Clean Water Act

and the Resource Conservation and Recovery Act. In support of this motion,

Plaintiff relies upon and incorporates herein its supporting memorandum of law

and evidentiary submission, filed herewith, which demonstrate that there is no

genuine dispute as to any material fact, and Plaintiff is entitled to judgment as a

matter of law.
        Case 2:16-cv-01443-AKK Document 51 Filed 08/15/18 Page 2 of 3




Respectfully submitted this 15th day of August, 2018.

s/Barry Brock
Barry Brock (ASB-9137-B61B)
Christina Andreen (ASB-9696-D10R)
Southern Environmental Law Center
2829 Second Avenue S., Ste. 282
Birmingham, AL 35233
tel: (205) 745-3060
fax: (205) 745-3064
bbrock@selcal.org
candreen@selcal.org

James Hecker
Public Justice
1620 L Street NW, Ste. 630
Washington, DC 20006
tel: (202) 797-8600
fax: (202) 232-7203
jhecker@publicjustice.net

Eva L. Dillard (ASB-4118-A59E)
Black Warrior Riverkeeper, Inc.
710 37th Street South
Birmingham, AL 35222-3206
tel: (205) 458-0095
fax: (205) 458-0094
edillard@blackwarriorriver.org

Attorneys for Plaintiff
        Case 2:16-cv-01443-AKK Document 51 Filed 08/15/18 Page 3 of 3




                          CERTIFICATE OF SERVICE

      I hereby certify that on August 15, 2018, the foregoing Black Warrior

Riverkeeper’s Motion for Partial Summary Judgment was filed with the Clerk of

Court using the CM/ECF system which will send notifications of such filing and

service copies to the following:

William A. Davis, III
Richard E. Davis
Alfred H. Perkins, Jr.
Starnes Davis Florie, LLP
100 Brookwood Place, 7th Floor
Telephone: (205) 868-6000
Facsimile: (205) 868-6099
Birmingham, AL 35209
RDavis@starneslaw.com
TDavis@starneslaw.com
APerkins@starneslaw.com

Attorneys for Defendant

                                                  s/Barry Brock
                                                  Barry Brock
